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                              UNITED STATES DISTRICT COURT
                                   DISTRICT OF MAINE

VINCENT ODEN,

               Plaintiff,

       vs.

CITY OF WESTBROOK, WESTBROOK POLICE                          Civil No. 20-00081-JDL
DEPARTMENT, BENJAMIN HALL, AUSTIN
CLARK, GARRETT MCCARTHY, RACHEL
HORNING, MICHAEL LORANGER, and
JANINE L. ROBERTS,

               Defendants




ANSWER, AFFIRMATIVE DEFENSES AND JURY TRIAL DEMAND (DEFENDANTS
   AUSTIN CLARK, GARRETT MCCARTHY, RACHEL HORNING, MICHAEL
                 LORANGER, AND JANINE ROBERTS)

       Defendants Austin Clark, Garrett McCarthy, Rachel Horning, Michael Loranger, and

Janine Roberts (collectively “the Defendants”), by and through counsel, hereby respond to the

Plaintiff’s Complaint as follows:

                                         JURISDICTION

       1.      The Defendants admit the Plaintiff is a black man. The Defendants are without

sufficient information or knowledge to form a belief as to the truth of the remaining allegations

contained in this paragraph of Plaintiff’s Complaint and, accordingly, deny same.

       2.      The Defendants admit the allegations contained in this paragraph of the

Plaintiff’s Complaint.

       3.      The allegations contained in this paragraph of the Plaintiff’s Complaint constitute

assertions of law to which no response is required. Alternatively, the Defendants are without

sufficient information or knowledge to form a belief as to the truth of the allegations contained

in this paragraph of Plaintiff’s Complaint and, accordingly, deny same.
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       4.         The Defendants admit the allegations contained in this paragraph of the

Plaintiff’s Complaint.

       5.         The Defendants admit the allegations contained in this paragraph of the

Plaintiff’s Complaint.

       6.         The Defendants admit the allegations contained in this paragraph of the

Plaintiff’s Complaint.

       7.         The Defendants admit the allegations contained in this paragraph of the

Plaintiff’s Complaint.

       8.         The Defendants admit the allegations contained in this paragraph of the

Plaintiff’s Complaint.

       9.         The Defendants admit the allegations contained in this paragraph of the

Plaintiff’s Complaint.

       10.        The Defendants deny the Plaintiff was waved through. The Defendants are

without sufficient information or knowledge to form a belief as to the truth of the remaining

allegations contained in this paragraph of Plaintiff’s Complaint and, accordingly, deny same.

       11.        The Defendants admit Officer Hall stopped the Plaintiff. The Defendants are

without sufficient information or knowledge to form a belief as to the truth of the remaining

allegations contained in this paragraph of Plaintiff’s Complaint and, accordingly, deny same.

       12.        The Defendants are without sufficient information or knowledge to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and,

accordingly, deny same.

       13.        The Defendants are without sufficient information or knowledge to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and,

accordingly, deny same.




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             (Defendants Austin Clark, Garrett McCarthy, Rachel Horning, Michael Loranger, and Janine Roberts)
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       14.        The Defendants admit the Plaintiff denied being intoxicated and stated that he

had an Achilles tendon problem. The Defendants are without sufficient information or

knowledge to form a belief as to the truth of the remaining allegations contained in this

paragraph of Plaintiff’s Complaint and, accordingly, deny same.

       15.        The Defendants admit the Plaintiff was asked to complete field sobriety tests. The

Defendants deny the remaining allegations contained in this paragraph of the Plaintiff’s

Complaint.

       16.        The Defendants are without sufficient information or knowledge to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and,

accordingly, deny same.

       17.        The Defendants admit that Officer Hall consulted with Sergeant Loranger

concerning the Plaintiff. The Defendants are without sufficient information or knowledge to

form a belief as to the truth of the remaining allegations contained in this paragraph of

Plaintiff’s Complaint and, accordingly, deny same.

       18.        The Defendants admit the Plaintiff was arrested and that he was handcuffed and

transported to the Westbrook Police Department. The Defendants deny the remaining

allegations contained in this paragraph of the Plaintiff’s Complaint.

       19.        The Defendants admit the Plaintiff was transported to the Westbrook Police

Department by Officer Clark and then to the Cumberland County Jail by Officers McCarthy and

Horning. The Defendants deny the remaining allegations contained in this paragraph of the

Plaintiff’s Complaint.

       20.        The Defendants admit that the intoxilyzer test results were 0.00 grams of alcohol

per 210 liters and that the evaluator opined that the Plaintiff was not under the influence of any

drugs. The Defendants are without sufficient information or knowledge to form a belief as to the




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truth of the remaining allegations contained in this paragraph of Plaintiff’s Complaint and,

accordingly, deny same.

       21.        The Defendants admit that the Plaintiff was charged with possession of scheduled

drugs. The Defendants are without sufficient information or knowledge to form a belief as to the

truth of the remaining allegations contained in this paragraph of Plaintiff’s Complaint and,

accordingly, deny same.

       22.        The Defendants admit that the Plaintiff was left a the Cumberland County Jail.

The Defendants are without sufficient information or knowledge to form a belief as to the truth

of the remaining allegations contained in this paragraph of Plaintiff’s Complaint and,

accordingly, deny same.

       23.        The Defendants are without sufficient information or knowledge to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and,

accordingly, deny same.

       24.        The Defendants are without sufficient information or knowledge to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and,

accordingly, deny same.

       25.        The Defendants are without sufficient information or knowledge to form a belief

as to the truth of the remaining allegations contained in this paragraph of Plaintiff’s Complaint

and, accordingly, deny same.

       26.        The Defendants are without sufficient information or knowledge to form a belief

as to the truth of the remaining allegations contained in this paragraph of Plaintiff’s Complaint

and, accordingly, deny same.

       27.        The Defendants are without sufficient information or knowledge to form a belief

as to the truth of the remaining allegations contained in this paragraph of Plaintiff’s Complaint

and, accordingly, deny same.


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       28.        The allegations contained in this paragraph of the Plaintiff’s Complaint constitute

assertions of law to which no response is required. Alternatively, the Defendants are without

sufficient information or knowledge to form a belief as to the truth of the allegations contained

in this paragraph of Plaintiff’s Complaint and, accordingly, deny same.

 COUNT I – VIOLATION OF THE 4TH AND 14TH AMENDMENTS OF THE UNITED STATES
 CONSTITUTION AND SECTIONS 1, 5, 6-A, AND SECTION 24 OF THE DECLARATIONS OF
                    RIGHTS IN THE MAINE CONSTITUTION

       29.        The Defendants repeat their responses to the preceding paragraphs of Plaintiff’s

Complaint.

       30.        The Defendants deny the allegations contained in this paragraph of the Plaintiff’s

Complaint.

       31.        The Defendants deny the allegations contained in this paragraph of the Plaintiff’s

Complaint.

       32.        The Defendants deny the allegations contained in this paragraph of the Plaintiff’s

Complaint.

       33.        The Defendants deny the allegations contained in this paragraph of the Plaintiff’s

Complaint.

       34.        The allegations contained in this paragraph of the Plaintiff’s Complaint constitute

assertions of law to which no response is required. Alternatively, the Defendants are without

sufficient information or knowledge to form a belief as to the truth of the allegations contained

in this paragraph of Plaintiff’s Complaint and, accordingly, deny same.

       35.        The Defendants deny the allegations contained in this paragraph of the Plaintiff’s

Complaint.

       36.        The allegations contained in this paragraph of the Plaintiff’s Complaint constitute

assertions of law to which no response is required. Alternatively, the Defendants are without




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sufficient information or knowledge to form a belief as to the truth of the allegations contained

in this paragraph of Plaintiff’s Complaint and, accordingly, deny same.

       37.        The allegations contained in this paragraph of the Plaintiff’s Complaint constitute

assertions of law to which no response is required. Alternatively, the Defendants are without

sufficient information or knowledge to form a belief as to the truth of the allegations contained

in this paragraph of Plaintiff’s Complaint and, accordingly, deny same.

       38.        The Defendants deny the allegations contained in this paragraph of the Plaintiff’s

Complaint.

       39.        The Defendants deny any alleged violations and, therefore, deny the allegations

contained in this paragraph of the Plaintiff’s Complaint.

       40.        The Defendants deny the allegations contained in this paragraph of the Plaintiff’s

Complaint.

                                    COUNT II – FALSE IMPRISONMENT

       41.        The Defendants repeat their responses to the preceding paragraphs of Plaintiff’s

Complaint.

       42.        The Defendants admit that the Plaintiff was lawfully stopped and, subsequently,

lawfully arrested. The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the remaining allegations contained in this paragraph of Plaintiff’s

Complaint and, accordingly, deny same.

       43.        The Defendants deny the allegations contained in this paragraph of the Plaintiff’s

Complaint.

       44.        The Defendants deny the allegations contained in this paragraph of the Plaintiff’s

Complaint.




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                                COUNT III – MALICIOUS PROSECUTION

      45.        The Defendants repeat their responses to the preceding paragraphs of Plaintiff’s

Complaint.

      46.        The Defendants deny the allegations contained in this paragraph of the Plaintiff’s

Complaint.

      47.        The Defendants deny the allegations contained in this paragraph of the Plaintiff’s

Complaint.

             COUNT IV – INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

      48.        The Defendants repeat their responses to the preceding paragraphs of Plaintiff’s

Complaint.

      49.        The Defendants deny the allegations contained in this paragraph of the Plaintiff’s

Complaint.

      50.        The Defendants deny the allegations contained in this paragraph of the Plaintiff’s

Complaint.

      51.        The Defendants deny the allegations contained in this paragraph of the Plaintiff’s

Complaint.

               COUNT V – NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS

      52.        The Defendants repeat their responses to the preceding paragraphs of Plaintiff’s

Complaint.

      53.        The Defendants deny the allegations contained in this paragraph of the Plaintiff’s

Complaint.

      54.        The Defendants deny the allegations contained in this paragraph of the Plaintiff’s

Complaint.

      55.        The Defendants deny the allegations contained in this paragraph of the Plaintiff’s

Complaint.


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                                   COUNT VI – PUNATIVE [sic] DAMAGES

        56.        The Defendants repeat their responses to the preceding paragraphs of Plaintiff’s

Complaint.

        57.        The Defendants deny the allegations contained in this paragraph of the Plaintiff’s

Complaint.

        58.        The Defendants deny the allegations contained in this paragraph of the Plaintiff’s

Complaint.

        59.        The Defendants deny the allegations contained in this paragraph of the Plaintiff’s

Complaint.

                                          AFFIRMATIVE DEFENSES

        1.         The Defendants have at all times acted in good faith and without knowledge that

their conduct violated any clearly established constitutional or statutory rights of the Plaintiff.

        2.         The Defendants’ conduct did not violate any clearly established constitutional or

statutory rights of the Plaintiff.

        3.         No reasonable person would have known that the Defendants’ conduct violated

any clearly established constitutional or statutory rights of the Plaintiff.

        4.         To the extent that the Plaintiff endeavors to make a state claim grounded in tort,

the Defendants reserve the right to demonstrate that the claim is barred by Plaintiff's failure to

comply with the notice provisions of the Maine Tort Claims Act, 14 M.R.S.A. §§ 8107 and 8108.

        5.         To the extent that the Plaintiff endeavors to make a state claim grounded in tort,

the claim is barred by immunity provided to the Defendants by the Maine Tort Claims Act.

        6.         The Plaintiff’s recoverable damages for tort claims are capped by the provisions

of the Maine Tort Claims Act.

        7.         The Defendants reserve the right to demonstrate that the Plaintiff’s Complaint, in

whole or in part, is barred by the applicable statutes of limitations.


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       8.         To the extent that the Plaintiff’s Complaint seeks to impose liability on the

Defendants in their representative capacity, the Complaint fails to state a claim upon which

relief may be granted.

       9.         The Plaintiff’s own conduct was the sole or a contributing cause of any injuries he

may have sustained.

       10.        The Plaintiff’s Complaint, in whole or in part, fails to state a claim upon which

relief may be granted.

       11.        The Plaintiff’s claims are barred for the reason that the Defendants are not liable

under a theory of respondeat superior for the actions of their agents.

       12.        The Plaintiff’s claims are barred for the reason that the Defendants’ actions do

not constitute deliberate indifference or conduct which is shocking to the conscience.

       13.        To the extent the allegations in the Complaint allege simple negligence, the

Plaintiff’s claims under 42 U.S.C. § 1983 are barred because the conduct complained of is not the

type contemplated under 42 U.S.C. § 1983.

       14.        The Plaintiff’s claims are barred, in whole or in part, by the doctrine of immunity.

       15.        The Plaintiff’s claims are barred, in whole or in part, by the doctrine of privilege.

       16.        The Defendants reserve the right to demonstrate that the Plaintiff’s claims are

barred by superseding or intervening causes.

       17.        To the extent that the Plaintiff seeks injunctive or declaratory relief, the Plaintiff

has no standing.

       18.        The Plaintiff has adequate remedies under State law, and therefore no action lies

under 42 U.S.C. §1983 in the Maine Constitution or the United States Constitution.

       19.        The Defendants reserve the right to demonstrate that the Plaintiff has failed to

mitigate damages.




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       20.        To the extent the Plaintiff’s alleged injuries result from conditions that pre-

existed the events alleged in the Complaint, the Defendants cannot be held liable for the alleged

damages associated with those alleged injuries.

       21.        To the extent the Plaintiff’s alleged injuries result from events or conditions that

occurred after the Defendants’ involvement with the Plaintiff, the Defendants cannot be held

liable for the alleged damages associated with those alleged injuries.

       22.        To the extent the Plaintiff seeks punitive damages against a governmental entity,

the Plaintiff’s claims should be dismissed for failure to state a cognizable cause of action.

       23.        To the extent the Plaintiff asserts “claims” for punitive damages, the Plaintiff’s

claims should be dismissed for failure to state a cognizable cause of action.

       24.        To the extent the Plaintiff asserts claims against the Westbrook Police

Department, the claim should be dismissed because the Westbrook Police Department is not a

legal entity capable of being sued.

                                                 JURY DEMAND

       Pursuant to Local Rule 38 and Federal Rule of Civil Procedure 38(b), the Defendants

request a trial by jury on all claims and issues properly tried to a jury.




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       WHEREFORE, Defendants Austin Clark, Garrett McCarthy, Rachel Horning, Michael

Loranger, and Janine Roberts demand judgment in their favor with regard to all claims of the

Plaintiff’s Complaint, including an award of costs and attorneys’ fees, if appropriate, and such

other relief as the Court deems just.

       Dated at Portland, Maine this 4th day of May, 2020.

                                            Attorneys for Defendants City of Westbrook, Westbrook
                                            Police Department, Austin Clark, Garrett McCarthy, Rachel
                                            Horning, Michael Loranger, and Janine Roberts
                                            MONAGHAN LEAHY, LLP
                                            95 Exchange Street, P.O. Box 7046
                                            Portland, ME 04112-7046
                                            (207) 774-3906
                                            jwall@monaghanleahy.com

                                  BY:       /s/ John J. Wall, III
                                            John J. Wall, III


                                     CERTIFICATE OF SERVICE

       I hereby certify that on May 4, 2020, I electronically filed Answer, Affirmative
Defenses and Jury Trial Demand (Defendants Austin Clark, Garrett McCarthy,
Rachel Horning, Michael Loranger, and Janine Roberts) using the CM/ECF system,
which will provide notice to me and the following other counsel of record: alee@tmbf-law.com.

       Dated at Portland, Maine this 4th day of May, 2020.

                                            Attorneys for Defendants City of Westbrook, Westbrook
                                            Police Department, Austin Clark, Garrett McCarthy, Rachel
                                            Horning, Michael Loranger, and Janine Roberts
                                            MONAGHAN LEAHY, LLP
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                                            Portland, ME 04112-7046
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                                  BY:       /s/ John J. Wall, III
                                            John J. Wall, III




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